                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


ANDREW ALBERT, individually and as
representative of a Class of Participants and
Beneficiaries on Behalf of the Oshkosh
Corporation and Affiliates Tax Deferred
Investment Plan,

                       Plaintiff,

               v.                                          Case No. 20-C-901

OSHKOSH CORPORATION, et al.,

                       Defendants.


                                     DECISION AND ORDER


       Plaintiff Andrew Albert, a participant in the Oshkosh Corporation and Affiliates Tax

Deferred Investment Plan (the Plan), brought this action as a proposed class action under the

Employee Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. § 1132(a)(2), against

Defendants Oshkosh Corporation, the Board of Directors of the Oshkosh Corporation, the

Administrative Committee of the Oshkosh Corporation and Affiliates Employee Benefit Plans,

and John Does 1–30. On September 2, 2021, the Court granted Defendants’ motion to dismiss and

dismissed the case. Presently before the Court is Plaintiff’s motion to vacate the judgment, stay

the action, and alter or amend the judgment. Plaintiff requests that the Court vacate its final

judgment and stay the action until the United States Supreme Court issues a decision in Hughes v.

Northwestern University, No. 19-1401, 2021 WL 2742780 (S. Ct. July 2, 2021), at which point the

Court may alter or amend its judgment as appropriate.




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       Plaintiff has presented no basis upon which the Court can vacate the judgment in this case

simply to reopen the closed case and stay proceedings. Plaintiff asserts that a court may consider

new arguments based on an intervening change in controlling law and newly discovered or

previously unavailable evidence. See Banister v. Davis, 140 S. Ct. 1698, 1703 n.2 (2020) (citing

11 WRIGHT & MILLER § 2810.1 (3d ed. 2012)). He maintains that, after this Court entered orders

staying six ERISA cases with pending motions to dismiss raising similar issues to those presented

here, Plaintiff promptly filed the instant motion. But neither the Supreme Court’s July 2, 2021,

decision to grant certiorari in Hughes nor this Court’s decision to stay the six ERISA cases pending

a decision in Hughes are intervening changes in controlling law. Plaintiff did not seek a stay in

this case until after final judgment was entered. “[A] motion to alter or amend a judgment is not

appropriately used to advance arguments or theories that could and should have been made before

the district court rendered a judgment.” See LB Credit Corp. v. Resolution Trust Corp., 49 F.3d

1263, 1267 (7th Cir. 1995) (citation omitted). For these reasons, Plaintiff’s motion to vacate

judgment, stay action, and alter or amend judgment (Dkt. No. 50) is DENIED. Plaintiff may seek

a stay from the Seventh Circuit Court of Appeals.

       SO ORDERED at Green Bay, Wisconsin this 22nd day of October, 2021.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




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